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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

BS Ae : : x
UNITED STATES OF AMERICA, ORDER MODIFYING
> CONDITIONS OF RELEASE
~against- : 18 Cr. 15 (AKH)
EUGENE CASTELLE,
Defendant.

 

ALVIN K. HELLERSTEIN, U.S.D.J.:

On March 31, 2020, I granted Defendant’s motion to be released on bail pending
the outcome of his appeal from his sentence and conviction, subject to the conditions that had
adhered prior to his guilty plea. See ECF No. 673. Upon further consideration of the conditions
of COVID-19 and the Government’s newly filed unopposed motion to modify the terms of
Defendant’s bail, see ECF No. 674, the Government’s motion is granted and the following
additional conditions shall apply to Defendant’s bail.

Defendant shall remain self-quarantined at Se.
Wee. for 14 days after his release, subject to location monitoring at the following
telephone number: GEE. On the tenth day of such self-quarantine, Defendant shall call
Pretrial Services to report his condition and to schedule an appointment for the placement of

location-monitoring equipment.

 

 

SO ORDERED.
Dated? April 3, 2020 /s/
New York, New York ALVIN K. HELLERSTEIN

United States District Judge
